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                      IN THE UNITED STATES IMSTRICT COURT
                                                                          2012 HAT
                       FOR THE WESTERN                                                   AM   8: '38
                                AUSTINDIVISk, N                           CLERK
                                                                                               QURT
                                                                                              FIEXAS
                                                     §
U.S. COMMODITY FUTURES TRADING                       §
COMMISSION,                                          §
                                                     §             CIVIL ACTION NO.
                      Plaintiff,                     §              1: 1O-cv-00385-SS
                                                     §
v.                                                   §
                                                     §
RICHARD D. THEYE; and                                §
MICIND CAPITAL MANAGEMENT, INC.                      §
                                                     §
                      Defendants.                    §
                                                     §


             ORDER APPROVING RECEIVERSHIP FEES AND EXPENSES

       The Receiver's Motion for Approval of Receivership Fees and Expenses, having been

considered by the Court, the Court having noted the pleadings on file and that the United States

Commodity Futures Trading Commission is not opposed to the relief sought in the motion, the

Court finds that the Receiver's Motion is well taken, no objections are filed and should be

GRANTED.

       NOW, THEREFORE, IT IS HEREBY ORDERED the Receiver is authorized to pay

from the Receivership Assets now existing or hereafter acquired:

       (a)    The amount of $10,010.00 in fees to Kelly M. Crawford for services rendered

from June 26, 2011 through March 25, 2012;

       (b)    The amount of $37,790.50 in fees and $10,742.41 in expenses to Scheef& Stone,

LLP for services rendered from June 26, 2011 through March 25, 2012; and




ORDER APPROVING RECEIVERSHIP FEES AND EXPENSES                                          PAGE    1




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                        .                                         .
       (c)    The amount of $270 in fees and $22.01 in expenses to Warfield & Company,

CPA's, the Receiver's accountant, for services rendered for the month of September, 2011.

       SO ORDERED.


       Signed this   3day of72012.

                                            UNITED    SJCT                  COURT JUDGE




ORDER APPROVING RECEIVERSHIP FEES AND EXPENSES                                        PAGE 2
